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                                          UNITED STATES DISTRICT COURT
                                            SENTENCING MINUTES

Date: 1/16/2025                                                                              Case No.:     1:24-cr-126
Time: 10:07 a.m. to 11:03 a.m.                                                               Judge:        Hon. Michael S. Nachmanoff
                                                                                             Reporter :    Diane Salters
UNITED STATES of AMERICA                                                                     Deputy Clerk: Lynnelle Creek
                                                                                             Interpreter:  Nathalia Rio Preto
              V.                                                                             Language:     Teresa Roman

JESSICA CLEMENCIO MORAIS


Counsel for Defendant                                                                      Counsel for Government

Brittany Davidson and Lauren Rosen                                                               Lauren Hahn


Court adopts PSI () without exceptions () with exceptions:
   • Court finds that role enhancement under § 3B1.1(b) should not apply.
   • Court finds that defendant is eligible for § 5C1.2 safety valve reduction.
   • Court finds that defendant is eligible for § 4C1.1 zero-point offender reduction.
   • Court orders that PSR be amended (paragraphs 12 and 31) as noted in open court.
   • Court orders that PSR be amended to reflect new offense level and guidelines.
   • Defense’s request to address matter under seal - GRANTED.
   • Court recommends defendant be designated to Tallahassee FCI if available and appropriate.
   • Consent Order of Forfeiture filed in open court.
   • Defendant remanded.

SENTENCING GUIDELINES :                                                            Court departs from Guidelines pursuant to:
Offense Level:       25
Criminal History:    I                                                                             USSG 5H1.4
Imprisonment Range: 57 to 71 months                                                                USSG 5K1.1
Supervised Release:  5 years                                                                       USSG 5K2.12
Fine Range:          $ 20,000 to $ 200,000                                                         USSG 5C1.2
Restitution         $ TBD
Special Assessment: $300.00

JUDGMENT OF THE COURT:
BOP for a term of 60 months as to each count to be served concurrently.
Supervised Release for a total of 5 years, with special conditions as to each count to be served concurrently.
Special Assessment $300.00 ($100.00 per count)
() Fine/costs of incarceration waived.

SPECIAL CONDITIONS:
    As a condition of supervised release, upon completion of the defendant's term of imprisonment, the defendant is to be surrendered to a duly-
authorized immigration official of the Department of Homeland Security United States Immigration and Customs Enforcement for a deportation
review in accordance with established procedures provided by the Immigration and Nationality Act, 8 U.S.C. 1101 et seq. As a further condition of
supervised release, if ordered deported, the defendant shall remain outside the United States.
    The defendant shall provide the probation officer access to any requested financial information.
    If not deported, the defendant shall participate in a program approved by the United States Probation Office for substance abuse, which
program may include residential treatment and testing to determine whether the defendant has reverted to the use of drugs or alcohol, with partial cost
to be paid by the defendant, all as directed by the probation officer. The defendant shall waive all rights of confidentiality regarding substance abuse
treatment to allow the release of information to the United States Probation Office and authorize communication between the probation officer and
the treatment provider
    The defendant shall participate in a program approved by the United States Probation Office for mental health treatment. The cost of this
program is to be paid by the defendant as directed by the probation officer. The defendant shall waive all rights of confidentiality regarding mental
health treatment to allow the release of information to the United States Probation Office and authorize communication between the probation officer
and the treatment provider.
